              Case 1:17-cr-10265-DJC Document 13 Filed 10/05/17 Page 1 of 4


                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

               v.                                             CRIMINAL NO. 17-10265-DJC

SALLY ANN JOHNSON
              Defendant(s).

                                      PROCEDURAL ORDER
                                    RE: SENTENCING HEARING
CASPER, J.

       A plea of guilty or nolo contendere, or a verdict of guilty, having been entered on October 5, 2017,
under the Sentencing Reform Act of 1984, it is hereby ORDERED:

Pre-sentence Investigation

       1.      a)      The United States Probation Office shall commence immediately the pre-sentence
               investigation unless as provided in Fed. R. Crim. P. Rule 32(i), the court finds under Rule
               32 (c) (1)(A) and (B) that the information in the record enables it to exercise its sentencing
               authority meaningfully under 18 U.S.C. § 3553 and the court explains this finding on the
               record.

               b)     The Probation Office shall prepare pre-sentence investigation reports in the order in
               which the requests from the court are received.

Statement of Relevant Facts

       2.      Not later than seven days after the plea or verdict (or on October 12, 2017 ), the attorney for
               the government shall provide to the United States Probation Office a statement of relevant
               facts and any other documents pertinent under Federal Rules of Criminal Procedure 32(d)
               and shall simultaneously serve on counsel for the defendant a copy of everything provided
               to the Probation Office.

Submission of Information Regarding Identifiable Victims (if applicable)

       3.      Not later than seven days after the plea or verdict (or on October 12, 2017), the attorney for
               the government shall provide to the United States Probation Office a written statement
               setting forth the names of the victims, their contact information/addresses and the amount
               of loss sustained by each victim/restitution owed to each victim pursuant to the Federal
               Rules of Criminal Procedure, Rule 32(c)(1)(B).
             Case 1:17-cr-10265-DJC Document 13 Filed 10/05/17 Page 2 of 4


Interview of Defendant

       4.     The Probation Office shall provide a reasonable opportunity for defense counsel to attend
              any interview of the defendant conducted by a probation officer during the pre-sentence
              investigation.

              a)      If the case is resolved by a plea and the Probation Office has timely notification of
              the plea, it shall hold an interview with the defendant on the day of the plea. If an interview
              cannot be held on the day of the plea, the Probation Office shall schedule an interview to be
              held within seven days after the plea or within such additional time as the court may order.

              b)     If the case is resolved by a verdict, the Probation Office shall schedule an interview
              with the defendant to be held within seven days after the verdict or within such additional
              period of time as the court may order.

              c)      If the defendant is in custody, the United States Marshal shall, at the request of the
              Probation Office, bring the defendant to the courthouse for an interview at the earliest
              feasible time.

Pretrial Services Responsibility

       5.     Pretrial Services shall provide to the Probation Office all documents in the possession of
              Pretrial Services that may be relevant to the pre-sentence investigation, including a copy of
              the Pretrial Report, the defendant’s state, local, and national criminal record, police reports,
              copies of convictions, drug test results, reports of incidents, and other reports and supporting
              documents.

Date of Sentencing

       6.     The sentencing hearing (and sentencing) is scheduled to occur at 2:00PM on January 17,
              2018, in courtroom 11 on the 5th floor. This date is to be not sooner than twelve weeks after
              the date of the plea/verdict, in order to permit the following:

              a)     Probation Office shall have seven weeks after the date of plea/verdict for the
              preparation and disclosure of the initial report.

              b)     Probation Office shall disclose the initial report to defense counsel and government
              counsel no less than five weeks before the sentencing hearing unless the defendant
              expressly waives the minimum five week pre-sentencing notification period.

              c)      The date when disclosure has been effected to each attorney is the date of the mailing
              of a copy to that attorney. An attorney may, in lieu of receiving disclosure by mail, make
              arrangements with the Probation Office to pick up the report no later than 3:00 p.m. on the
              date disclosure is due. It is the responsibility of the defense counsel to disclose the pre-
              sentence report to the defendant and to discuss it with and explain it to the defendant.



                                                    -2-
            Case 1:17-cr-10265-DJC Document 13 Filed 10/05/17 Page 3 of 4


Objections Procedure

      7.     Within fourteen days after disclosure of the report, attorneys for the government and the
             defendant shall advise the probation officer and each other in writing, of any objections they
             may have as to any material information, sentencing classifications, sentencing guideline
             ranges or policy statements contained in or omitted from the report.

      8.     The probation officer shall conduct any further investigation and make any revisions to the
             pre-sentence report that may be necessary. The probation officer may require counsel for
             both parties to confer with the probation officer to identify and attempt to resolve any factual
             or legal disputes which may require hearing by the court.

Final Pre-sentence Report

      9.     Not later than January 10, 2018 (which is a date not less than seven days before the
             sentencing hearing), the probation officer shall submit to the court and disclose to the
             attorneys the final pre-sentence report, including any addendum, setting forth the unresolved
             objections, the grounds for these objections and the probation officer’s comments on the
             objections. The probation officer shall certify that the contents of the report, including any
             revisions, and the addendum have been disclosed to the defendant and to counsel for the
             defendant and the government, and that the addendum fairly states any remaining unresolved
             objections. Except with regard to any unresolved objections, the report of the pre-sentence
             investigation may be accepted by the court as accurate. The court, however, for good cause
             shown, may allow a new objection to the pre-sentence report to be raised at any time before
             the imposition of sentence.

Hearing and Counsel’s obligations

      10.    Obligation of Counsel:

             a)      Notice:   Counsel are to advise the Court:

                     (1)    whether either party will move for a departure from the applicable guideline
                            range or will move for a non guideline sentence;

                     (2)     whether apart from (1), there are legal questions not adequately addressed in
                             the presentence report or not addressed at all;

                     (3)    whether there are factual issues which the party contend require an
                            evidentiary hearing.

                    Counsel shall provide such notice to the Court by January 10, 2018 or not later
                    than 5 business days before the sentencing hearing if the hearing is rescheduled
                    after the issuance of this order.




                                                  -3-
             Case 1:17-cr-10265-DJC Document 13 Filed 10/05/17 Page 4 of 4




             b)     Memorandum: Counsel must file any sentencing memorandum or motion for
                    departure or variance with the Court no later than January 10, 2018 or no later than
                    5 business days before the sentencing hearing if the hearing is rescheduled after
                    issuance of this order.

             c)     Service on Probation: A copy of the memorandum and any submissions addressing
                    sentencing issues submitted by counsel must also be provided to the probation officer
                    five business days in advance of the sentencing hearing.

      11.    The schedule set forth in this Order may be modified by the Court for good cause shown.

      12.    Disclosure of the pre-sentence report is made under the provisions of Fed. R. Crim. P. 32,
             except that the Probation Office shall not disclose any recommendation it made to the court
             as to sentence. Any such recommendation made to the court by the Probation Office must
             not contain factual information not already disclosed to both counsel and to the defendant.



October 5, 2017                            /s/ Denise J. Casper
                                           UNITED STATES DISTRICT JUDGE




                                                 -4-
